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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

ANDREW RITZ and MICHAEL RITZ,

Plaintiffs,

y Civil Action No. 20-13509 (GC) (RLS)

EQUIFAX INFORMATION SERVICES, | MEDIATION ORDER & DESIGNATION
LLC, et al., OF MEDIATOR

Defendants.

CASTNER, District Judge

THIS MATTER having come before the Court following a telephonic conference with
counsel for the parties on May 29, 2025, and it appearing that mediation would conserve the
resources and be in the best interests of the Court and the parties,

IT IS on this 29th day of May, 2025, ORDERED as follows:

1. This civil action will proceed to mediation by consent of the parties and by Order of the

Court consistent with Local Civil Rule 301.1;

2. Counsel and the parties shall participate in mediation and shall cooperate in good faith with
the Mediator: Hon. Douglas E. Arpert (Ret.);

3. Counsel must promptly contact the Mediator at darpert@walsh.law to schedule mediation;

4, Within seven (7) days of this filing, Plaintiffs’ counsel must forward copies of this Order
together with the pleadings filed in this action to the Mediator;
5. Counsel and the parties, including individuals with settlement authority, shall attend

mediation sessions as requested by the Mediator and participate in good faith;

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6. Pending the completion of mediation, the action shall be ADMINISTRATIVELY
TERMINATED without prejudice subject to restoration upon the conclusion of
mediation;

7. All filings and deadlines will be stayed pending the completion of the mediation; and

8. Within seven (7) days following completion of mediation, counsel for the parties shall
advise the Court of the outcome and whether the matter needs to be relisted to the Court’s

active docket.

RGEVTE CASTNER
ITED STATES DISTRICT JUDGE

